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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :                Case No. 21 Cr. 73-1 (BAH)

v.                                             :

NICHOLAS DECARLO                               :

Defendant.                                     :

                         DEFENDANT’S UNOPPOSED MOTION TO
                            MODIFY RELEASE CONDITIONS

       Defendant Nicolas DeCarlo respectfully moves this Court to modify his conditions of

release and permit him to relocate to the Western District of Tennessee in order to pursue a new

and better work opportunity. The defendant provided written proof of his new employment to his

Pretrial Service Officer, who does object to the move and will arrange to transfer his supervision

to the new district. Undersigned also communicated with the prosecutor assigned to this case,

who likewise does not object to the defendant relocating under the same release conditions.

       The defendant has been on pretrial release since his arrest on January 15, 2021 and has

been in complete compliance with all release conditions. The defendant currently lives in Texas

and is not subject to a curfew or GPS monitoring; the only restrictions on his freedom of

movement is that he not leave the judicial district without prior permission. Given that Tennessee

is a much smaller state than Texas, the defense asks that Mr. DeCarlo be allowed to move

subject to the limited restriction that he not be able to leave the state of Tennessee without prior

notice to Pretrial and receiving permission to travel.

       An appropriate draft Order is attached hereto for the Court’s consideration.



                                                         Respectfully submitted,




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                                                    Robert Feitel
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via ECF to Assistant United States
Attorney Christopher Berridge, 555 4th Street, N.W. Washington, D.C. this 1st day of June 2022.

                                            Robert Feitel
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                                            Robert Feitel




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